                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                       )
                                               )
v.                                             )   CASE NO. 3:12-00219
                                               )   JUDGE SHARP
KWAME HERROD [2]                               )

                                          ORDER


       Pending before the Court is Defendant’s Motion for Continuance of Sentencing Hearing

(Docket No. 210).

       The motion is GRANTED and the sentencing hearing scheduled for Friday, March 14,

2014, is hereby rescheduled for Monday, April 14, 2014, at 2:00 p.m.

       It is so ORDERED.



                                           KEVIN H. SHARP
                                           UNITED STATES DISTRICT JUDGE




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